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UNITED STATES BANKRUPTCY COURT                             HEARING DATE: May 30, 2024
EASTERN DISTRICT OF NEW YORK                               HEARING TIME: 09:30 AM
-----------------------------------------------------x     LOCATION: Central Islip, Courtroom 860
In re:

Robert W. Flohr,
                                                         Case No.: 8-24-70760-reg
                    Debtor;                              Chapter 13
                                                         Judge: Hon. Robert E. Grossman, U.S.B.J.
Mary C. Flohr,
                    Joint Debtor.
----------------------------------------------------x

                                  OBJECTION TO CONFIRMATION
                                  OF DEBTORS’ CHAPTER 13 PLAN

        U.S. Bank Trust National Association, Not In Its Individual Capacity But Solely As Owner
Trustee For RCAF Acquisition Trust (the "Secured Creditor”), by and through its undersigned
counsel, objects to confirmation of Debtors’ Chapter 13 Plan, and states as follows:
    1. Debtor, Robert W. Flohr, and Joint Debtor, Mary C. Flohr (“Debtors”), filed a voluntary
        petition pursuant to Chapter 13 of the Bankruptcy Code on February 27, 2024.
    2. Secured Creditor holds a security interest in the Debtors’ real property located at 644
        Ardsley Blvd, Garden City South, NY 11530, by virtue of a Consolidation, Extension and
        Modification Agreement (“CEMA”) recorded on February 19, 2004 in Book M26033 at
        Page 1 of the Public Records of Nassau County, NY. Said CEMA secures a Note in the
        amount of $375,000.00.
    3. The Debtors filed a Chapter 13 Plan (the “Plan”) on February 27, 2024 (Doc. No. 6).
    4. It is anticipated that Secured Creditor’s claim will show the pre-petition arrears due to be
        not less than $74,890.12 (Proof of Claim due by May 7, 2024). Debtors’ Plan proposes to
        pay only $72,757.05. Secured Creditor objects to any plan which proposes to pay it
        anything less than $74,890.12 as the pre-petition arrearage over the life of the plan.
        Therefore, the Plan is not in compliance with the requirements of 11 U.S.C. §§ 1322(b) (3)
        and (b)(5) and 1325(a)(5) and cannot be confirmed. Secured Creditor objects to any



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       proposed Plan that fails to provide for the total amount of pre-petition arrears due and
       owing to Secured Creditor.
   5. As cited above, the Plan must cure a default owed to a creditor that holds a secured claim
       within a reasonable time. The Plan does not cure the default under the Note and held by
       Secured Creditor, accordingly, the Plan fails to meet the standards for confirmation under
       11 U.S.C. § 1325(a) (1). Therefore, Secured Creditor objects to confirmation of the Plan.


   WHEREFORE, Secured Creditor respectfully requests this Court sustain the objections stated
herein and deny confirmation of Debtors’ Plan, and for such other and further relief as the Court
may deem just and proper.


Dated: April 22, 2024



                                            Robertson, Anschutz, Schneid, Crane & Partners,
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                                            By: /s/Raquel Felix
                                            Raquel Felix, Esquire
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Robert W. Flohr,
                                                         Case No.: 8-24-70760-reg
                    Debtor;                              Chapter 13
                                                         Judge: Hon. Robert E. Grossman, U.S.B.J.
Mary C. Flohr,


----------------------------------------------------x



                                      CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on April 22, 2024, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via
CM/ECF or United States Mail to the following parties:

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23rd Floor
New York, NY 10001

Michael J. Macco
Michael J. Macco Trustee
2950 Express Dr S
Ste 109
Islandia, NY 11749

United States Trustee
Long Island Federal Courthouse
560 Federal Plaza - Room 560
Central Islip, NY 11722-4437




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Robert W. Flohr
644 Ardsley Blvd.
Garden City, NY 11530

Mary C. Flohr
644 Ardsley Blvd.
Garden City, NY 11530



Date: April 22, 2024

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